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FORM ntpoclm (Rev. 12/15)
                                     UNITED STATES BANKRUPTCY COURT
                                            Northern District of Florida
                                               Gainesville Division

In Re: Prioria Robotics, Inc.                                            Bankruptcy Case No.: 18−10018−KKS
       Tax ID: 45−4044132
        Debtor
                                                                         Chapter: 7
                                                                         Judge: Karen K. Specie


                                 NOTICE OF NEED TO FILE PROOF OF CLAIM
                                      DUE TO RECOVERY OF ASSETS


NOTICE IS GIVEN THAT:

     The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that
notice was sent, assets have been recovered by the trustee.

    Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the
bankruptcy court at the address below on or before July 31, 2018.

     Creditors who do not file a proof of claim on or before this date might not share in any distribution from the
debtor's estate.

      You may file an electronic version of the Proof of Claim via this Court's website at
https://ecf.flnb.uscourts.gov/cgi−bin/autoFilingClaims.pl. Upon completion of the electronic filing process, you will
be able to print a PDF version of your claim with a date stamp as proof of filing. To file by mail, the proof of claim
form (Official Form 410) may be obtained from the website of the United States Courts at
http://www.uscourts.gov/forms/bankruptcy−forms or from any bankruptcy clerk's office. To receive
acknowledgement of your filing, you may either enclose a stamped, self−addressed envelope and a copy of your
proof of claim or you may access the court's PACER system (https://www.pacer.gov) to view your filed proof of
claim.

     There is no fee for filing the proof of claim.

     Any creditor who has filed a proof of claim already need not file another proof of claim.

Dated: April 30, 2018                                          FOR THE COURT
                                                               Traci E. Abrams, Clerk of Court
                                                               110 E. Park Ave., Ste. 100
                                                               Tallahassee, FL 32301


Service: Service by the Court to all creditors and parties in interest
